Case 19-11372-btb Doc 19 Entered 03/27/19 00:14:22 Page 1 of 2

Fill in this information to identify your case:

 

Debt0r1 JOEL CROSBY S|NNOTT

 

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) Fiist Name Middle Name Lasl Name
United States Bankruptcy Court for the: DiStriCT Of Nevada E
Case number 19'1 1372'BTB
(|f known)

El Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possib|e. |f two married people
are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additiona| Page, fill it out,

and number the entries in the boxes on the |eft. Attach the Additiona| Page to this page. On the top of any Additiona| Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.)

n No
n Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexicol Puerto Rico, Texas, Washington, and Wisconsin.)

n No. Go to line 3.
g Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

El No
g Yes. ln which community state or territory did you live'.NEVADA . Fill in the name and current address of that person.

Christine C. Sinnott

Name of your spouse, fenner spouse, or legal equivalent

 

 

4444 Gun Smoke Cir.

Number Street

North Las Vegas NV 89031

city state ziP code

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Officia| Form 106D), Schedule E/F (Officia| Form 106ElF), or Schedule G (Officia| Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
El Schedule D, line
Name
|;l Schedule E/F, line _
Number street El Schedule G, line
city state ziP code
3.2
|;l Schedule D, line _
Name
El schedule E/F, line
Number Street El Schedule G, line
city state ziP code
3.3
|;l Schedule D, line
Name _
|;l Schedule E/F, line _
Number street |;l Schedule G, line
city state ziP code

Official Form 106H Schedule H: Your Codebtors page 1 of _

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Debt°r1 JOEL CROSBY S|NNOTT

 

First Name

Middle Name Last Name

- Additional Page to List More Codebtors

Column 1: Your codebtor

§

 

Name

 

Number

Street

 

city

State

ZlP Code

 

Name

 

Number

Street

 

city

State

ZlP Code

 

Name

 

Number

Street

 

city

State

ZlP Code

 

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ZlP Code

 

Name

 

Number

Street

 

City

E|

State

ZlP Code

 

Name

 

Number

Street

 

City

Official Form 106H

State

ZlP Code

Schedule H: Your Codebtors

Case number (irkncwn) 19'1 1372'BTB

 

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

El schedule D, line
El Schedule E/F, line
El Schedule G, line

El Schedule D, line
El Schedule E/F, line
El Schedule G, line

\;l Schedule D, line
El Schedule E/F, line _
El Schedule G, line

|;l Schedule D, line
El schedule E/F, line
El Schedule G, line

|;l Schedule D, line
El schedule E/F, line
El Schedule G, line

\;l Schedule D, line
El Schedule E/F, line
El Schedule G, line _

El Schedule D, line
El Schedule E/F, line
|;l Schedule G, line

El Schedule D, line
|;l Schedule E/F, line
El Schedule G, line

page _ of _

